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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY

CHRISTINE CONFORTI, ARATI KREIBICH, i
MICO LUCIDE, JOSEPH MARCHICA, : CASE NO: 3:20-CV-08267-FLW-TJB
KEVIN MCMILLAN, ZINOVIA SPEZAKIS, :
and NEW JERSEY WORKING FAMILIES
ALLIANCE, INC.,
Plaintiffs,
Vv.

CHRISTINE GIORDANO HANLON, in her

official capacity as Monmouth County Clerk,
SCOTT M. COLABELLA, in his official
capacity as Ocean County Clerk, PAULA
SOLLAMI COVELLO, in her official capacity
as Mercer County Clerk, JOHN S. HOGAN, in
his official capacity as Bergen County Clerk,
EDWARD P. MCGETTIGAN, in his official
capacity as Atlantic County Clerk, and E.
JUNIOR MALDONADO, in his official

capacity as Hudson County Clerk,
Defendants.

DEFENDANT, E. JUNIOR MALDONADO’S BRIEF IN SUPPORT OF HIS MOTION TO DISMISS
PLAINTIFF’S COMPLAINT, PURSUANT TO F.R.C.P. 12(b) (6), AND JOINING IN CO-
DEFENDANTS’ MOTIONS TO DISMISS

Daniel J. DeSalvo

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Attorney for Defendant,

E. Junior Maldonado, in his
Official capacity as

Hudson County Clerk
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PRELIMINARY STATEMENT

Defendant Maldonado joins in the Motions to Dismiss of the
co-defendants in this matter in all relevant respects and adds
the following points: the Secretary of State and not the County
Clerks is the proper party to defend the State from the
Constitutional Claims; the issues presented by the Plaintiffs
are both moot as to the 2020 ballot drawing, and not yet ripe as
to the 2022 ballot drawing, and the Plaintiff’s Complaint to for
present plausible facts to substantiate their claims. For those
reasons it is respectfully submitted that the Plaintiffs’

Complaints be dismissed.

PROCEDURAL HISTORY

On January 25, 2021 the First Amended Complaint was filed
against Defendant E. Junior Maldonado. Acknowledgement of
Service for Defendant Maldonado was entered on February 10,
2021. A scheduling Order was entered by the County on March 10,
2021 permitting all defendants to file Motions to Dismiss by
March 29, 2021. Previously, three defendants had already filed

Motions to Dismiss the Complaint pursuant to F.R.C.P. 12(b) (6).
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STATEMENT OF MATERIAL FACTS

1. Defendant E. Junior Maldonado is the Hudson County Clerk,
and in that capacity, and pursuant to statute, he is
responsible for the preparation of all ballots pertaining

to the elections in the County of Hudson.

2. The design and layout of the ballot in a political party
primary election is governed by Title 19 of the New Jersey
Statutes, which provides the rules for the filing of
petitions, bracketing of candidates, slogans, and the process
for the ballot draw to determine the order of the candidates.

3. During the 2020 Primary election there were also in place a
series of Executive Orders which provided rules for the dates
and times of elections and, also how the elections would be
conducted via absentee ballot.

4. In order to appear on the ballot potential candidates are

required to submit the requisite petition pursuant to

N.J.S.A. 19:23-14. Municipal candidates submit their
petitions to the Municipal Clerk. County Candidates submit
their petitions to the County Clerk. State and Federal

candidates submit their petitions to the Secretary of State.
The Municipal Clerks and the Secretary of State transmit to
the County Clerks which candidates should appear on the

ballot, and for which office, so that the County Clerks may
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prepare the ballots.

5. Candidates are permitted to bracket with whomever candidates
they choose (so long as the candidates consent to being
bracketed together) and this bracketing request must be
submitted within 48 hours of the petition filing deadline,
N.J.S.A. 19:49-2.

6. Plaintiff Spezakis submitted a bracketing request letter on
April 7, 2020 in which Plaintiff requested, “I hereby request
to be bracketed with and otherwise featured on the same line
of the ballot, and with the same slogan, “Not Me. Us.” along
with the candidate for County Freeholder. The letter also
requested that she be bracketed with Lawrence Hamm, candidate
for United States Senate. (See Maldonado Exhibit A).

7. The ballot drawing was conducted on April 9, 2020 at 3:00PM
via Zoom, and streamed live online via Facebook and Instagram
due to the COVID-19 in-person restrictions in place at that
time.

8. The names of the two candidates for United States Senator
were placed on small, white pieces of paper with adhesive
backing. Each candidate’s name was then placed in its own
small, plastic container. The containers were placed in a
wooden “hopper,” which is closed and rotated. The first name
drawn was that of Senate Candidate, Lawrence Hamm. As first

draw his name was placed in Column A. Senator Booker’s name
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was drawn next and placed in Column B. Because Plaintiff
Spezakis and Mr. Hamm had consented to being bracketed with
each other as candidates, Plaintiff Spezakis’s name was
placed under that of Candidate Hamm and in the row designated
for Congressional candidates. Freeholder candidate, Roger
Quesada, was placed below her name in the row designated for
Freeholder at her request. (See Maldonado Exhibit B)

9. I received no communication from any candidate contesting or
otherwise challenging the ballot drawing for this ballot.
The only written communication received from Plaintiff
Spezakis subsequent to the Primary Election was a letter
soliciting my signature on a petition for ballot reform. (See
Maldonado Exhibit D).

10. The Primary election occurred on July 7, 2020.

11. Plaintiff Spezakis lost her bid for Congressional

district garnering only 673 (19.8%) votes to Congressman

Pascrell’s 2,607 (76.7%). I certified these results and they
are attached hereto. (See Maldonado Exhibit C)
12 « Plaintiff Spezakis filed her Amended Complaint on

January 25, 2021. (See DeSalvo Exhibit A)
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LEGAL ARGUMENT

POINT I

PLAINTIFF’ S COMPLAINT SHOULD BE DISMISSED AGAINST E. JUNIOR MALDONADO
IN HIS OFFICIAL CAPACITY AS THE HUDSON COUNTY CLERK BECAUSE THE
SECRETARY OF STATE IS THE PROPER PARTY FOR THE RELIEF SOUGHT, NOT THE
COUNTY CLERK

The enforcement of the election laws in the State of New Jersey
is the duty of the Secretary of State, and she is the proper defendant
in this case. N.J.S.A. 19:31-6a and N.J.S.A. 52:16A-98.
Alternatively, the duties of the County Clerks are largely
ministerial. “The clerk has the responsibility to deal with petitions
for the elections and to set up the ballot arrangements and array.
Unless specifically directed by statute as to a procedure, the clerk

has discretion in carrying out this responsibility. Schundler v.

Donovan, 377 N.J. Super. 339, 343, 872 A.2d 1092, 1095 (App. Div.),

aff'd, 183 N.J. 383, 874 A.2d 506 (2005) (internal citations omitted).
If discretion is exercised, a court will look only to whether that
discretion was rooted in reason. Ibid. The statute in question
specifically directs the Clerks how to act with regard to ballot draws
and bracketing. The discretion of the Defendant Maldonado is not
being challenged or questioned. Plaintiff’s Complaint claims not that
Defendant Maldonado acted incorrectly, but that the statute as to the
ballot draw and bracketing is unconstitutional. The defense of that
law is not within the authority granted to the Clerk and therefore the

complaint against Defendant Maldonado should be dismissed.
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POINT ITI

PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED AGAINST E. JUNIOR MALDONADO
IN HIS OFFICIAL CAPACITY AS THE HUDSON COUNTY CLERK BECAUSE THE MATTER
IS MOOT AS TO THE JULY 2020 PRIMARY ELECTION, AND NOT RIPE FOR
ADJUDICATION AS TO A FUTURE PRIMARY ELECTION

The relief sought by Plaintiff is a declaration that the New
Jersey Statutes in question are unconstitutional. But the harm
alleged by the Plaintiff is that her placement on the ballot
negatively impacted her candidacy. The live controversy then is the
placement on the ballot at the moment the ballot draw is performed,
not the ultimate result of the election. When there is no live
controversy then the case is clearly moot. “A case is moot when the
issues presented are no longer ‘live’ or the parties lack a legally

cognizable interest in the outcome.” Donovan ex rel. Donovan v.

Punxsutawney Area Sch. Bd., 336 F.3d 211, 216 (3d Cir.2003). Federal

courts are without power to hear moot cases. State Farm Mut. Auto.

Ins. Co. v. Ormston, 550 F.Supp. 103, 105 (E.D.Pa.1982) (citing Liner

v. Jafco, Inc., 375 U.S. 301, 306 n. 3, 84 S.Ct. 391, 11 L.Ed.2d 347

(1964)). The Declaratory Judgment Act requires that there be a “case
of actual controversy” between the parties. 28 U.S.C. § 2201(a).

Here, the harm to plaintiff (if any) arose at the time of the ballot
draw itself. The Plaintiffs never challenged the ballot placement
during a time frame in which a court may have affected her position on
the ballot. Plaintiff did not contest her position on the Hudson
County ballot, ran for office knowing her placement on the ballot, and
lost. No declaratory judgment sought today by the Plaintiff will

address the July 2020 Primary election ballot or the election results.
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Without that live action in controversy this issue is moot and should

not be heard by this Court.

In an effort to cover all bases, Plaintiff simultaneously claims
that the issue is ripe for adjudication because she intends to run for

election again in 2022. The Declaratory Judgment Act provides that “in

a case of actual controversy within its jurisdiction ... any court of
the United States ... may declare the rights and other legal relations
of any interested party seeking such a declaration....” 28 U.S.C. §

2201(a). The Third Circuit uses a three part test to evaluate whether
an action for declaratory judgment is ripe, examining: 1) the
adversity of the parties' interest, 2) the conclusiveness of the
judicial judgment, and 3) the practical help, or utility of that
judgment. However, “a potential harm that is contingent on a future
event occurring will likely not satisfy the adversity of interest

prong of the ripeness test” and warrant dismissal. Pittsburgh Mack

Sales & Serv. Inc. v. Int'l Union of Operating Eng'rs, Local Union No.

66, 580 F.3d 185, 190 (3d Cir.2009)). The matter presented by
Plaintiff is not ripe for adjudication because it is dependent upon
far too many future events: the Plaintiff choosing to run again; the
Plaintiff having the financial resources to run again; the Plaintiff's
ability to properly submit a valid petition, on time, for the next
primary election. The Plaintiff could obtain the backing of a
political Party, or Plaintiff could begin her own political party.
None of these factors are reasonably foreseeable. Far too many
contingencies exist for this matter to be truly ripe for adjudication.

In no way does the tenuous nature of the future candidacy of the

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plaintiff pass the test for ripeness, and the complaint should be

dismissed.

POINT III

PLAINTIFF’S COMPLAINT AGAINST E. JUNIOR MALDONADO IN HIS OFFICIAL
CAPACITY AS THE HUDSON COUNTY CLERK SHOULD BE DISMISSED BECAUSE
PLAINTIFF HAS FAILED TO ASSERT FACTS TO SUPPORT HER CLAIM

Defendant Maldonado cross-moves and joins in the co-defendants’
motions to dismiss and incorporates their arguments to dismiss
Plainitiffs’ complaints for failure to state a claim upon which relief
can be granted. Defendant Maldonado adds the following discussion to
assert that the complaint of Plaintiff Spezakis fails on its face the
scrutiny for sufficient pleading. A complaint must state a claim to
relief that is plausible on its face. Ashcroft v. Iqbal, 556 U.S.
662, 678 (2009). While the court must take all of the factual
allegations in the complaint as true those “factual allegations must
be enough to raise a right to relief above a speculative level.” Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, at 555 (2007). Here,

Plaintiff Spezakis’ broad assertions in the Amended Complaint are
internally inconsistent and unsubstantiated. On page 50 of the
Amended Complaint Plaintiff claims that she was “required to bracket
or otherwise associate with candidates for US Senate and Freeholder to
protect her ballot position” and that the result of this “requirement”
“forcfed] candidates to choose between favorable ballot position and
associational rights [which] violate[d] their First Amendment Rights.”
Plaintiff's Complaint, p51. There is no evidence provided within the
Amended Complaint to substantiate this claim that Plaintiff Spezakis

was required to associate with any other candidate and did so only to

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secure what Plaintiff perceives as a better ballot position. [In fact,
it would appear from a review of the letter Plaintiff Spezakis
submitted to the Hudson County Clerk on April 7, 2020 that this choice
was made willingly and with the knowledge and consent of all the other
candidates and with the knowledge of her legal counsel. (Attachment
C). In aforesaid letter the Plaintiff not only requests to be
bracketed with Candidate Hamm, as well as a list of County Freeholders
running in various districts, she also requests that all of these
candidates share the same slogan. The sharing of a slogan certainly
speaks to an agreement amongst these candidates on policy, vision, and
shared sense of purpose. This letter alone undermines the credibility
of the statement that Plaintiff Spezakis was “required” to do anything
to preserve a ballot position, as well as the argument that her

associational rights were infringed.

Plaintiff's Amended Complaint relies primarily on accepting as
true the concept of a “preferential ballot draw” and the notion that
any candidate who brackets with another candidate who has the
opportunity to be drawn during a ballot drawing received a better
place on the ballot, and therefore receives a better chance at being
successful in an election. (Plaintiff's Amended Complaint, p
2,10,15,19) and that this (perceived) preference is unconstitutional.
Here, Plaintiff Spezakis bracketed with a senatorial candidate, which
entitled their bracket to a preferential bracket draw. The draw was
conducted and Candidate Hamm was drawn first, putting him in the first
column of the ballot. This draw was not contested or challenged at the

time of the ballot drawing. The election went forward and, despite

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this alleged “preferential” position on the ballot, Hamm and Plaintiff
Spezakis still lost by a considerable margin. This set of facts does
not support the claims set forth in the complaint that the lack of a

preferential ballot draw harmed the Plaintiffs.

Throughout the Amended Complaint, Plaintiff Spezakis predicts
that she will run, unbracketed, in 2022 for the 9 Congressional
District in New Jersey. (Plaintiff’s Amended Complaint, p 54). For
the reasons set forth in Point II of this brief this contention is not
yet ripe for adjudication. However, it also purely speculation at
this point in time, and that speculative pleading of facts ina
complaint does not meet the somewhat more exacting pleading standards

adopted in Iqbal and Twombly.

CONCLUSION

For the foregoing reasons Defendant, E. Junior Maldonado,

respectfully requests that the Plaintiffs’ Complaint be dismissed.

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Daniel J. HeSalvo

Dated: March 29, 2021 Deputy County Counsel

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